Case 19-30144       Doc 19    Filed 04/03/19 Entered 04/03/19 12:41:16          Desc Main
                                Document     Page 1 of 1


                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS

 In re:                                             Chapter 7
                                                    Case Number 19-30144
 Christine M. Goodreau                              Honorable Elizabeth D. Katz

       Debtor
 ____________________________________/

      ORDER RE: MOTION OF U.S. BANK NATIONAL ASSOCIATION, AS
     INDENTURE TRUSTEE, FOR THE CIM TRUST 2016-3, MORTGAGE-
    BACKED NOTES, SERIES 2016-3 FOR RELIEF FROM THE AUTOMATIC
                  STAY PURSUANT TO 11 U.S.C. § 362

          U.S. Bank National Association, as indenture trustee, for the CIM Trust 2016-3,

 Mortgage-Backed Notes, Series 2016-3, by and through its attorneys, Orlans PC having

 filed for Relief From Stay regarding real property known and numbered as 14 Crescent

 Hill, East Longmeadow, MA 01028 notice having been given and good cause appearing

 therefore, it is hereby ORDERED that the Motion of U.S. Bank National Association, as

 indenture trustee, for the CIM Trust 2016-3, Mortgage-Backed Notes, Series 2016-3 for

 Relief From Stay is allowed and U.S. Bank National Association, as indenture trustee, for

 the CIM Trust 2016-3, Mortgage-Backed Notes, Series 2016-3 is granted relief from the

 automatic stay pursuant to 11 U.S.C. §362(d) so that it, and its successors and assigns,

 may proceed to exercise its rights pursuant to the Note and Mortgage dated November 9,

 2006 and recorded with the Hampden County Registry of Deeds at Book 16345, Page

 320 in accordance with applicable state and federal law and to commence a summary

 process action against occupants of that property. Entry of this Order shall be effective

 immediately upon entry, notwithstanding the provisions of FRBP 4001(a)(3). This Order

 shall be binding and effective despite any conversion of this bankruptcy case to a case

 under any other chapter of Title 11 of the United States Bankruptcy Code.
